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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

LINDA SUSAN MULLENIX,                             §
                                                  §
               Plaintiff                          §
                                                  §       Civil No. 1:19-cv-1203-DAE
-v-                                               §
                                                  §
UNIVERSITY OF TEXAS AT                            §
AUSTIN,                                           §
                                                  §
       Defendant.                                 §


                               JOINT STIPULATION OF DISMISSAL


TO THE HONORABLE DAVID A. EZRA:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Linda Susan Mullenix

(“Plaintiff”) and Defendant The University of Texas at Austin (“Defendant”) (collectively, “the

Parties”) hereby stipulate to the dismissal of this cause with prejudice as the parties have resolved

this dispute. Costs and fees have also been resolved by the Parties. The Parties respectfully request

the Court close this case.

Dated: November 9, 2022
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Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 9th day of November, 2022, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which automatically provided
notice to all counsel of record.


                                               /s/ Colin Walsh
                                               COLIN WALSH




Joint Stipulation of Dismissal                                                                    2
